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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

WIKIMEDIA FOUNDATION,
Plaintiff,

¥. Case No. 1:15-cv-662

NATIONAL SECURITY AGENCY/
CENTRAL SECURITY SERVICE, e¢

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Defendants.

ORDER

 

By Order dated September 21, 2018, a bricfing and oral argument schcdule was set in this
matter. That Order omitted the time for ora! argument on March |, 2019 and mistakenly listed
the December 14, 2018 deadline for the Plaintiff's Opposition as December 14, 2019.

Accordingly. and for good cause,

jt is hereby ORDERED that the parties adhere to the following briefing and oral

argument schedule:

 

 

 

 

 

 

 

 

 

 

 

Event Deadline/Datc Pape Limit
Defendants’ Motion November 9, 2018 Thirty (30) pages
Plaintiff's Opposition December 14, 2018 Thirty (30) pages
Defendants’ Reply January 18, 2019 Thirty (30) pages
Plaintiff's Surreply February 1, 2019 ‘Ten (10) pages
Defendants’ Surreply February 15, 2019 Ten (10) pages
Oral Argument March 1, 2019 at 10:00 A.M.

 

The Clerk is directed to provide a copy of this Order to all counsel of record.

Alexandria, Virginia
September 25, 2018

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T.S. Ellis, III
United States Distfict Judge
